10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

Case 3:17-cr-OOll4-LRH-CBC Document 2 Filed 12/06/17 Page 1 of 7

/

sTEvEN w. MYHRE ' V Fn.sn REce\vsn
Acting United States Attomey _ ENTERED SERVED ON
District of Nevada COUNSEL/PART|ES OF RECORD
IS<IIBBIY lI:\MH<‘:;=ADDEN
U . A MI

Nevada Bar Number 5634 DEC ‘ 5 2017
Assistant _United States Attomeys
gay NI{}'§€§?(', 18 "°et’ S“‘t° 600 cLERK us nlsrRlcT count
PHoNE: (775) 784-5438 °'STR'CT °F NEVADA
FAX: (775) 784-5181

BY:
kilby.macfadden@usdoj.gov -~: ~'~- _ » ~.
sue.p.fahami@usdoj.gov :~.,; §:P' J:X g 4 §§ § §

Representing the United States of America

 

 

 

 

 

 

 

DEPUTY

 

 

UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA
3:17-CR-0114-LRH-VPC
UNITED STATES OF AMERICA,
Plaintiff, INDICTMENT FOR VIOLATION OF:
v. 21 U.S.C. § 84l(a)(l) - Distribute a
Controlled Substance (Counts 1 through 36);
DEVENDRA I. PATEL M.D., and
a.k.a., DEVENDRAKUMAR I. PATEL M.D., 18 U.S.C. § 1347 - Health Care Fraud
(Counts 37 through 39)
Defendant.
W

 

 

 

 

THE GRAND JURY CHARGES THAT:
At times material to this Indictment:
Introduction

1. The Defendant, Devendra I. Patel, M.D., (“Patel”) is a licensed physician, with
Nevada license number 11068, who has practiced medicine in Nevada since 2004. Defendant
Patel previously practiced medicine in New York and Nebraska. He maintains his medical
practice, Northeastem Nevada Cardiology, which is located at 674 North Cedar Street, Elko,
Nevada. Defendant Patel is a cardiologist. As part of his practice, he prescribes Controlled

Substances, including opioids, with a DEA license number BP6740662.

l

 

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

 

 

Case 3:17-cr-OOll4-LRH-CBC Document 2 Filed 12/06/17 Page 2 of 7

2. Under the Controlled Substances Act, Title 21 , United States Code, Section 84l(a)
et seq., and Title 21 , Code of Federal Regulations, Section 1306.04, a prescription for a controlled
substance is not legal or effective unless it was issued for a legitimate medical purpose by a
practitioner acting in the usual course of professional practice.

3. Defendant Patel routinely prescribes various Schedule II-IV controlled substances
including Fentanyl, Hydrocodone and Oxycodone for his patients, outside the usual course of
professional practice, without a legitimate medical purpose.

4. Further, Defendant Patel routinely has his patients submit to unnecessary heart
testing in order to fraudulently obtain private insurance, Medicare and Medicaid payments.

5. One such procedure he routinely administers, without medical necessity, is a
nuclear stress test, A nuclear stress test, which involves injecting a radioactive dye into the
patient’s bloodstream, is typically ordered if you have undiagnosed heart problems or a diagnosis
such as coronary artery disease. This test measures blood tlow. The test provides images that can
show areas of low blood flow through the heart and damaged heart muscle. The test usually
involves taking two sets of images of your heart _ one while at rest and another after the heart
is stressed, either by exercise or medication.

6. Defendant Patel broadly performed EKGs on his patients, These tests routinely
showed the results as abnormal. Patel performed the EKGs so that he could then order these
nuclear stress tests for his patients, all without medical necessity, He utilized a poorly calibrated
machine and presented his patients with fraudulent X-Rays, in order to deceive his patients into
thinking they had coronary issues that needed to be treated by him.

7. Defendant Patel also would bill Medicare or Medicaid for these nuclear stress

tests, when he did not actually perform the test on the patients,

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23

24

 

 

Case 3:17-cr-OOll4-LRH-CBC Document 2 Filed 12/06/17 Page 3 of 7

8. Medicare and Medicaid continued paying for the unnecessary tests for Patcl’s
patients, or paying for these tests that were not perfonned, resulting in Patel receiving fraudulent
provider payments.

COUNTS ONE THROUGH TWENTY-ONE
(Distribution of Controlled Substances - Schedule Il)

The Grand Jury incorporates Paragraphs One through Eight as though fully set forth
herein,

On or about the dates set forth below, in the State and Federal District of Nevada,

DEVENDRA I. PATEL,
Defendant herein, did knowingly and intentionally distribute, a mixture and substance containing
a detectable amount of a Schedule II controlled substance, as listed below, without a legitimate
medical purpose and outside the usual course of professional practice, each of which constitutes

a separate count of this Indictment:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

A'.:';:;z:i'::::.::::“ §:“.,;:::::;'
l September 14, 2015 Patient A Oxycodone
2 November 12, 2015 patient A Oxycodone
3 December 14, 2015 patient A Oxycodone
4 January 13, 2016 patient A Oxycodone
5 February 12, 2016 patient A Oxycodone
6 May 1, 2014 patient B Oxycodone
7 May l, 2014 patient B Morphine Sulfate
8 May 30, 2014 patient B Oxycodone
9 May 30, 2014 patient B Morphine Sulfate -
10 June 27 , 2014 patient B Oxycodone
ll June 27, 2014 patient B Morphine Sulfate

 

 

 

10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

 

 

Case 3:17-cr-OOll4-LRH-CBC Document 2 Filed 12/06/17 Page 4 of 7

 

 

 

 

 

 

 

 

 

 

12 July 25, 2014 patient B Oxycodone
13 July 25, 2014 patient B Morphine Sulfate
14 August 22, 2014 patient B Oxycodone
15 August 22, 2014 patient B Morphine Sulfate
16 September 20, 2014 patient B Oxycodone
17 September 20, 2014 patient B Morphine Sulfate
18 October 20, 2014 , patient B Oxycodone
19 October 20, 2014 patient B Morphine Sulfate
20 November 20, 2014 patient B Oxycodone
21 November 20, 2014 patient B Morphine Sulfate

 

 

 

 

 

 

All in violation of Title 21, United States Code, Sections 841(a)(1), and Title 21, Code of Federal|
Regulations, Section 1306.04.
COUNTS TWENTY-TWO THROUGH TWENTY-FIVE
(Distribution of Controlled Substances - Schedule IIl)

The Grand Jury incorporates Paragraphs One through Eight as though fully set forth
herein. 4

On or about the dates set forth below, in the State and Federal District of Nevada,

DEVENDRA I. PATEL,

Defendant herein, did knowingly and intentionally distribute, a mixture and substance containing
a detectable amount of a Schedule III controlled substance, as listed below, without a legitimate
medical purpose and outside the usual course of professional practice, each of which constitutes

a separate count of this lndictment:

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

 

Case 3:17-cr-OOll4-LRH-CBC Document 2 Filed 12/06/17 Page 5 of 7

 

Controlled
Substance
_ Hydrocodone-
22 November 22, 2015 Patient C Acetanunophen
aka ‘Norco
Hydrocodone-
23 December 20, 2015 Patient C Acetaminophen
aka “Norco”
Hydrocodone-
24 January 19, 2016 Patient C Acetaminophen
aka “Norco”
Hydrocodone-
25 February 15, 2016 Patient C Acetaminophen
aka “Norco”

Approximate Date

or Distribution P“i°"‘

Count

 

 

 

 

 

 

 

 

 

 

All in violation of Title 21, United States Code, Sections 841(a)(1) and Title 21 , Code of Federal
Regulations, Section 1306.04.
COUNTS TWENTY-SIX THROUGH THIRTY-SIX
(Distribution of Controlled Substances - Schedule IV)

The Grand Jury incorporates Paragraphs One through Eight as though fully set forth
herein,

On or about the dates set forth below, in the State and Federal District of Nevada,

DEVENDRA l. PATEL,

Defendant herein, did knowingly and intentionally distribute, a mixture and substance containing
a detectable amount of a Schedule IV controlled substance, as listed below, without a legitimate
medical purpose and outside the usual course of professional practice, each of which constitutes

a separate count of this Indictment:

 

 

 

Approximate Date . Controlled
C°“"‘ or Disuibution P“*'°'" substance
26 August 22, 2017 Patient D Xanax
27 August 22, 2017 Patient D Ambien

 

 

 

 

 

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

 

Case 3:17-cr-OOll4-LRH-CBC Document 2 Filed 12/06/17 Page 6 of 7

 

 

 

 

 

 

 

 

 

28 August 22, 2017 Patient D Provigil
29 September 28, 2017 Patient D Xanax
30 ` September 28, 2017 Patient D Ambien
31 September 28, 2017 Patient D Provigil
32 September 28, 2017 Patient D Tramadol
33 September 28, 2017 Patient D Nuvigil
34 September 29, 2017 Patient E 'Tramadol
35 September 29, 2017 ' Patient E Nuvigil
36 September 29, 2017 Patient E Ambien

 

 

 

 

 

 

All in violation of Title 21, United States Code, Sections 841(a)(1); and Title 21 , Code of
Federal Regulations, Section 1306.04.
COUNTS THIRTY-SEVEN THROUGH THIRTY-NINE
(Health Care Fraud)

The Grand Jury incorporates Paragraphs One through Eight as though fully set forth
herein,

On or about June 19, 2014, continuing to on or about June 10, 2016, in the State and
Federal District of Nevada,

DEVENDRA I. PATEL

did knowingly and willfully execute a scheme and artifice to defraud a health care benefit
program, to wit: the Medicaid and Medicare Part B and D programs, and to obtain by means of
materially false and fraudulent pretenses, representations, promises, and omissions, money and
property owned by and under the custody and control of Medicaid and Medicare, in connection

with the delivery of and payment for health care benefits, items and services, to wit: nuclear

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

 

Case 3:17-cr-OOll4-LRH-CBC Document 2 Filed 12/06/17 Page 7 of 7

stress tests, with each Patient, identified herein as Patients F, G and H, constituting a separate

violation of Title 18, United States Code, Section 1347 .

 

_C_(M Patient Aggroximate Health Care Benefit
Dates

 

37 Patient F June 19, 2015 Medicaid

 

June 10, 2016

 

 

 

 

 

 

 

38 Patient G Medicaid
39 Patient H June 19’ 2014 Medicare Part B
DATED: this 6th day of December, 2017.
A TRUE BI L:

/

FOREPERSON OF THE GRAND JURY

 

STEVEN W. MYHRE
Acting United States Attomey

KIVBY MACEADDEN

SUE P. FAHAMI
Assistant United States Attomeys

 

